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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

 Case No.: 5:21-01333 ODW (ADS)                                  Date: November 12, 2021
 Title: Aslani v. San Bernardino Cty., et al.


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


               Kristee Hopkins                                None Reported
                Deputy Clerk                             Court Reporter / Recorder

     Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
               None Present                                    None Present

 Proceedings:         (IN CHAMBERS) ORDER TO SHOW CAUSE WHY CASE
                      SHOULD NOT BE DISMISSED FOR FAILURE TO
                      PROSECUTE AND OBEY COURT ORDERS
        On August 9, 2021, Plaintiff Feridoon Aslani filed a pro se civil rights complaint
 (“Complaint”) asserting claims pursuant to 42 U.S.C. § 1983. (Dkt. No. 1.) On October
 25, 2021, the Court dismissed the Complaint with leave to amend and granted Plaintiff
 leave to file a First Amended Complaint by no later than November 8, 2021. (Dkt. No.
 6.) As of the date of this order, the Court has not received a First Amended Complaint
 or any response to the Order Dismissing with Leave to Amend from Plaintiff.
         Plaintiff is hereby ordered to show cause why this case should not be dismissed
 for failure to prosecute and obey court orders. Plaintiff must file a written response by
 no later than November 26, 2021. Plaintiff may respond to this Order to Show Cause
 by (a) filing a First Amended Complaint; or (b) filing a statement with the Court
 indicating the desire to continue to move forward with the Complaint despite the
 weaknesses noted by the Court in the Order Dismissing with Leave to Amend.
       Plaintiff is expressly warned that failure to timely file a response to this Order to
 Show Cause may result in a recommendation to the District Judge that this action be
 dismissed without prejudice for failure to prosecute and obey Court orders pursuant to
 Federal Rule of Civil Procedure 41(b).
        IT IS SO ORDERED.


                                                                        Initials of Clerk kh



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